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 6

 7                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF CALIFORNIA
 8
                                          FRESNO DIVISION
 9
     UNITED STATES OF AMERICA,                        Case No. CR 18-155 LJO
10
                    Plaintiff,
11          v.
                                                      STIPULATION AND ORDER TO
                                                      CONTINUE SENTENCING HEARING
12   SANDRA HAAR,

13                  Defendant.

14

15          The above-captioned matter is currently set for a sentencing hearing on January 28,
16   2019. Based on the information below, the parties respectfully request that the Court continue
17   that hearing to April 1, 2019 and set the briefing schedule described below.
18        Defendant Sandra Haar made her initial appearance, was arraigned, and pled guilty to a
19   two-count Information on August 13, 2018. At that time the matter was referred to U.S.
20   Probation for completion of a Presentence Investigation Report (“PSR”). Since then, Ms. Haar
21   has interviewed with, and provided information to, Probation. However, Probation requires
22   additional time to complete the PSR. Moreover, undersigned defense counsel Paul Wolf is out
23   of the country from mid-February until mid-March and government counsel is unavailable for a
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 1   week in late March. Therefore, April 1st is the earliest date available for all counsel and will

 2   provide Probation sufficient time to complete the PSR.

 3         All counsel and Probation have further agreed to the following briefing schedule for this

 4   matter:

 5                  February 4, 2019: draft PSR due to counsel
                    February 19, 2019: informal objections to opposing counsel and Probation
 6
                    February 25, 2019: final PSR due to the parties and the Court
 7
                    March 4, 2019: formal objections filed with the Court
 8                  March 11, 2019: response to formal objections filed with the Court
                    March 20, 2019: sentencing memoranda filed with the Court
 9

10         The parties therefore request that this matter be continued to April 1, 2019 at 11:00 a.m.

11   for sentencing and that the above briefing schedule be set.

12         SO STIPULATED:

13
     Dated: December 19, 2018                              _____________/s/_____________
14                                                         Paul Wolf
                                                           Adam Pennella
15                                                         Counsel for Sandra Haar
16
     Dated: December 19, 2018                              MCGREGOR SCOTT
17                                                         UNITED STATES ATTORNEY
18
                                                           _____________/s/_____________
19                                                         Lee Bickley
                                                           Assistant United States Attorney
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21   IT IS SO ORDERED.
22      Dated:     December 20, 2018                        /s/ Lawrence J. O’Neill _____
                                                   UNITED STATES CHIEF DISTRICT JUDGE
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